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 6
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 7

 8                        UNITED STATES DISTRICT COURT

 9                      CENTRAL DISTRICT OF CALIFORNIA
10
      PRISCILLA WALL, individually and
11    on behalf of all others similarly        Case No. _________
12    situated,
                                               CLASS ACTION COMPLAINT
13               Plaintiff,
                                               JURY TRIAL DEMANDED
14
         v.
15

16    WESCOM CENTRAL CREDIT
      UNION and BARRACUDA
17    NETWORKS, INC.,
18
                Defendants.
19

20

21         Plaintiff Priscilla Wall (“Plaintiff”) brings this Class Action Complaint
22
     (“Complaint”) against Defendants Wescom Central Credit Union (“Wescom”) and
23
     Barracuda Networks, Inc. (“Barracuda”) (collectively, “Defendants”) as an
24

25 individual and on behalf of all others similarly situated, and alleges, upon personal

26

27

28
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 1 knowledge as to her own actions and her counsels’ investigation, and upon

 2
     information and belief as to all other matters, as follows:
 3

 4                               NATURE OF THE ACTION

 5           1.    This class action arises out of the recent cyberattack and data breach
 6
     (“Data Breach”) resulting from Wescom's failure to implement reasonable and
 7

 8 industry standard data security practices.

 9           2.    Defendant Wescom is a California-based credit union that provides
10
     financial services to “more than 200,000 members” across its “24 branches”.1
11

12           3.    Defendant Barracuda is a data management corporation that provides

13 IT services including “Email Protection, Application Protection, Network Security,

14
     and Data Protection Solutions.”2
15

16           4.    Plaintiff’s and Class Members’ sensitive personal information—which
17 they entrusted to Defendants on the mutual understanding that Defendants would

18
     protect it against disclosure—was compromised and unlawfully accessed due to the
19

20 Data Breach.

21           5.    Defendants collected and maintained certain personally identifiable
22
     information of Plaintiff and the putative Class Members (defined below), who are
23

24 (or were) customers at Wescom.

25

26   1
         https://www.wescom.org/About-Us (last accessed Nov. 6, 2023).
27   2
         https://www.barracuda.com (last accessed Nov. 7, 2023).
28
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 1           6.    The personal information compromised in the Data Breach included
 2
     Plaintiff’s and Class Members’ full names and financial account numbers
 3

 4 (“personally identifiable information” or “PII”).

 5           7.    The PII compromised in the Data Breach was exfiltrated by cyber-
 6
     criminals and remains in the hands of those cyber-criminals who target PII for its
 7

 8 value to identity thieves.

 9           8.    As a result of the Data Breach, Plaintiff and approximately 34,000
10
     Class Members,3 suffered concrete injuries in fact including, but not limited to: (i)
11

12 invasion of privacy; (ii) theft of their PII; (iii) lost or diminished value of PII; (iv)

13 lost time and opportunity costs associated with attempting to mitigate the actual

14
     consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost
15

16 opportunity costs associated with attempting to mitigate the actual consequences of

17 the Data Breach; (vii) experiencing an increase in spam calls, texts, and/or emails;

18
     (viii) Plaintiff experiencing fraudulent charges, for approximately $11, placed on
19

20 her Wescom Central Credit Union debit card, in or about November 2023; (ix)

21 statutory damages; (x) nominal damages; and (xi) the continued and certainly

22
     increased risk to their PII, which: (a) remains unencrypted and available for
23

24 unauthorized third parties to access and abuse; and (b) remains backed up in

25

26   3
         https://apps.web.maine.gov/online/aeviewer/ME/40/d55f0583-a6fb-45aa-a46f-
27 adb949f4197b.shtml (last accessed Nov. 6, 2023).

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 1 Defendants’ possession and is subject to further unauthorized disclosures so long

 2
     as Defendants fail to undertake appropriate and adequate measures to protect the
 3

 4 PII.

 5         9.     The Data Breach was a direct result of Defendants’ failure to
 6
     implement adequate and reasonable cyber-security procedures and protocols
 7

 8 necessary to protect Wescom’s customers’ PII from a foreseeable and preventable

 9 cyber-attack.

10
           10.    Defendants maintained the PII in a reckless manner. In particular, the
11

12 PII was maintained on Defendants’ computer network in a condition vulnerable to

13 cyberattacks. Upon information and belief, the mechanism of the cyberattack and

14
     potential for improper disclosure of Plaintiff’s and Class Members’ PII was a
15

16 known risk to Defendants, and thus, Defendants were on notice that failing to take

17 steps necessary to secure the PII from those risks left that property in a dangerous

18
     condition.
19

20         11.    Defendants disregarded the rights of Plaintiff and Class Members by,
21 inter alia, intentionally, willfully, recklessly, or negligently failing to take adequate

22
     and reasonable measures to ensure their data systems were protected against
23

24 unauthorized intrusions; failing to ensure those measures were followed by their IT

25 vendors; failing to disclose that they did not have adequately robust computer

26
     systems and security practices to safeguard Class Members’ PII; failing to take
27

28
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 1 standard and reasonably available steps to prevent the Data Breach; and failing to

 2
     provide Plaintiff and Class Members prompt and accurate notice of the Data
 3

 4 Breach.

 5             12.   Plaintiff’s and Class Members’ identities are now at risk because of
 6
     Defendants’ negligent conduct because the PII that Defendants collected and
 7

 8 maintained is now in the hands of data thieves.

 9             13.   Armed with the PII accessed in the Data Breach, data thieves have
10
     already engaged in identity theft and fraud and can in the future commit a variety
11

12 of crimes including, e.g., opening new financial accounts in Class Members’

13 names, taking out loans in Class Members’ names, using Class Members’

14
     information to obtain government benefits, filing fraudulent tax returns using Class
15

16 Members’ information, obtaining driver’s licenses in Class Members’ names but

17 with another person’s photograph, and giving false information to police during an

18
     arrest.
19

20             14.   As a result of the Data Breach, Plaintiff and Class Members have been
21 exposed to a present and continuing risk of fraud and identity theft. Plaintiff and

22
     Class Members must now and in the future closely monitor their financial accounts
23

24 to guard against identity theft.

25             15.   Plaintiff and Class Members may also incur out of pocket costs, e.g.,
26
     for purchasing credit monitoring services, credit freezes, credit reports, or other
27

28
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 1 protective measures to deter and detect identity theft.

 2
           16.   Plaintiff brings this class action lawsuit on behalf all those similarly
 3

 4 situated to address Defendants’ inadequate safeguarding of Class Members’ PII

 5 that it collected and maintained, and for failing to provide timely and adequate

 6
     notice to Plaintiff and other Class Members that their information had been subject
 7

 8 to the unauthorized access by an unknown third party and precisely what specific

 9 type of information was accessed.

10
           17.   Through this Complaint, Plaintiff seeks to remedy these harms on
11

12 behalf of herself and all similarly situated individuals whose PII was accessed

13 during the Data Breach.

14
           18.   Plaintiff and Class Members have a continuing interest in ensuring that
15

16 their information is and remains safe, and they should be entitled to injunctive and

17 other equitable relief.

18
                                        PARTIES
19

20         19.   Plaintiff, Priscilla Wall, is a natural person and citizen of Riverside,
21 California.

22
           20.   Defendant Wescom is a California corporation with its principal place
23

24 of business located at 123 South Marengo Avenue, Pasadena, California 91101.

25

26

27

28
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 1           21.    Defendant Barracuda is a Delaware corporation with its principal place
 2
     of business located at 3175 South Winchester Boulevard, Campbell, California
 3

 4 95008.

 5                                JURISDICTION AND VENUE
 6
             22.    This Court has subject matter jurisdiction pursuant to the Class
 7

 8 Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in

 9 controversy exceeds the sum of $5,000,000 exclusive of interest and costs, there

10
     are more than 100 putative class members, and minimal diversity exists because
11
                                                                                 4
12 many putative class members are citizens of a different state than Defendants.

13 This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)

14
     because all claims alleged herein form part of the same case or controversy.
15

16           23.    This Court has personal jurisdiction over Defendants because
17 Defendants operate in this District and Defendants are authorized to and

18
     regularly conduct business in this District.
19

20           24.    Venue is proper in this District under 28 U.S.C. § 1391(a) through
21 (d) because a substantial part of the events giving rise to this action occurred in

22
     this District; Defendant Wescom’s principal place of business is located in this
23

24

25   4
         According to the breach report submitted to the Office of the Maine Attorney
26 General, 11 Maine residents were impacted in the Data Breach. See

27
     https://apps.web.maine.gov/online/aeviewer/ME/40/d55f0583-a6fb-45aa-a46f-
     adb949f4197b.shtml (last accessed Nov. 7, 2023).
28
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 1 district; Defendants maintain Class Members’ PII in this District; and

 2
     Defendants caused harm to Class Members residing in this District.
 3

 4                              FACTUAL ALLEGATIONS

 5           Defendants’ Businesses
 6
             25.   Defendant Wescom is a California-based credit union that provides
 7
                                                                               5
 8 financial services to “more than 200,000 members” across its “24 branches”.

 9           26.   Defendant Barracuda is a data management corporation that provides
10
     IT services including “Email Protection, Application Protection, Network Security,
11
                                   6
12 and Data Protection Solutions.”

13           27.   Plaintiff and Class Members are current and former Wescom customers.
14
             28.   As a condition of receiving financial services at Wescom, Defendants
15

16 requires that Wescom’s customers, including Plaintiff and Class Members, entrust

17 Defendants with highly sensitive personal information.

18
             29.   The information held by Defendants in their computer systems or those
19

20 of their vendors at the time of the Data Breach included the unencrypted PII of

21 Plaintiff and Class Members.

22
             30.   Upon information and belief, in the course of collecting PII from its
23

24 customers, including Plaintiff, Wescom promised to provide confidentiality and

25

26   5
         https://www.wescom.org/About-Us (last accessed Nov. 6, 2023).
27   6
         https://www.barracuda.com (last accessed Nov. 7, 2023).
28
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 1 adequate security for customer data through its applicable privacy policy and

 2
     through other disclosures in compliance with statutory privacy requirements.
 3

 4         31.    Indeed, the Privacy Policy posted on Wescom’s website provides that:

 5 "[w]e use reasonable physical, electronic, and procedural safeguards that comply

 6
     with federal standards to protect and limit access to personal information. This
 7
                                                                7
 8 includes device safeguards and secured files and buildings.”

 9         32.    Plaintiff and the Class Members, as former and current Wescom
10
     customers, relied on these promises and on this sophisticated business entity to keep
11

12 their sensitive PII confidential and securely maintained, to use this information for

13 business purposes only, and to make only authorized disclosures of this

14
     information. Customers, in general, demand security to safeguard their PII.
15

16         The Data Breach
17         33.    In the Notice of Data Breach letters sent to Plaintiff and Class
18
     Members on or about October 20, 2023 (the “Notice Letter”), Wescom asserts that:
19

20         What Happened? On May 19, 2023, Barracuda announced a wide-spread
           vulnerability in their ESG appliance which allowed third party access to a
21         subset of their ESG appliances since October 2022. On May 30, 2023,
22         Barracuda confirmed this impacted Wescom. Upon notice, Wescom
           immediately removed the appliance from the network and began an
23         investigation into the incident with cybersecurity experts.
24
           What Information Was Involved? The investigation determined the ESG
25
     7
26
    https://www.wescom.org/online-privacy-
   policy#:~:text=We%20use%20reasonable%20physical%2C%20electronic,and%20
27 secured%20files%20and%20buildings. (last accessed Nov. 6, 2023).

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 1             had been accessed and that some emails and attachments stored on the
 2
               appliances between October 30, 2022 and May 30, 2023, were potentially at
               risk. We reviewed the contents of the emails and attachments that were
 3             potentially accessible to the unauthorized person for personal information.
 4             On September 29, 2023, we determined that one or more emails or
               attachments stored on the ESG appliances included your name and financial
 5             account number[.]8
 6
               34.   Omitted from the Notice Letter were any explanation as to why
 7

 8 Defendants failed to stop the unauthorized access for approximately seven months

 9 after the cyberattack began, any explanation as to why Defendants failed to inform

10
     Plaintiff and Class Members of the Data Breach for more than five months after
11

12 being informed of the cyberattack, the details of the root cause of the Data Breach,

13 the vulnerabilities exploited, and the remedial measures undertaken to ensure such

14
     a breach does not occur again. To date, these omitted details have not been
15

16 explained or clarified to Plaintiff and Class Members, who retain a vested interest

17 in ensuring that their PII remains protected.

18
               35.   This “disclosure” amounts to no real disclosure at all, as it fails to
19

20 inform, with any degree of specificity, Plaintiff and Class Members of the Data

21 Breach’s critical facts. Without these details, Plaintiff’s and Class Members’ ability

22
     to mitigate the harms resulting from the Data Breach is severely diminished.
23

24             36.   Defendants did not use reasonable security procedures and practices
25 appropriate to the nature of the sensitive information they were maintaining for

26
     8
27       Id.
28
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 1 Plaintiff and Class Members, causing the exposure of PII, such as encrypting the

 2
     information or deleting it when it is no longer needed. Moreover, Wescom failed
 3

 4 to exercise due diligence in selecting its IT vendors or deciding with whom it would

 5 share sensitive PII.

 6
               37.   Upon information and belief, the cyberattack was targeted at
 7

 8 Defendants, due to their statuses as a financial institution and data management

 9 company that collects, creates, and maintains PII on their computer networks and/or

10
     systems.
11

12             38.   As Wescom’s Notice Letter admits, Plaintiff’s and Class Members’

13 PII was, in fact, compromised and acquired in the Data Breach.

14
               39.   The files containing Plaintiff’s and Class Members’ PII, that were
15

16 targeted and stolen from Defendants, included their names and financial account

17 numbers.9

18
               40.   Because of this targeted cyberattack, data thieves were able to gain
19

20 access to and obtain data from Defendants that included the PII of Plaintiff and

21 Class Members.

22
               41.   As evidenced by the Data Breach’s occurrence, the PII contained in
23

24 Defendants’ networks were not encrypted. Had the information been properly

25 encrypted, the data thieves would have exfiltrated only unintelligible data.

26
     9
27       Id.
28
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 1              42.   Plaintiff’s PII was accessed and stolen in the Data Breach and Plaintiff
 2
     believes her stolen PII and that of Class Members is currently available for sale on
 3

 4 the dark web because that is the modus operandi of cybercriminals.

 5              43.   Due to the actual and imminent risk of identity theft as a result of the
 6
     Data Breach, Wescom, in its Notice Letter, instructs Plaintiff and Class Members
 7

 8 to do the following:

 9              We remind you to remain vigilant to the possibility of fraud by reviewing
10              your financial statements and credit reports for any unauthorized activity. If
                you see anything you do not recognize, please contact us or the relevant
11              financial institution right away. We have also included information on what
12              you can do to better protect against possible misuse of your information.

13                    Review the enclosed “Additional Steps You Can Take” document to
14                    continue to guard your information from fraud or identity theft. If you
                      see anything you do not understand, call the credit agency
15                    immediately.
16
                      Sign up for free Account Alerts in Online Banking to help you keep
17                    track of your Wescom accounts via text message or email
18                    notifications.
19                    Visit our Security Center at wescom.org/security-center for more
20                    ways on how Wescom can help you keep your accounts safe.10
21              44.   In the Notice Letter, Wescom makes an offer of 12 months of credit
22
     and identity monitoring services. This is wholly inadequate to compensate Plaintiff
23

24 and Class Members as it fails to provide for the fact that victims of data breaches

25 and other unauthorized disclosures commonly face multiple years of ongoing

26
     10
27        Id.
28
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 1 identity theft and financial fraud, and it entirely fails to provide sufficient

 2
     compensation for the unauthorized release and disclosure of Plaintiff’s and Class
 3

 4 Members’ PII.

 5         45.    That Wescom is encouraging its current and former customers to
 6
     enroll in credit monitoring and identity theft restoration services is an
 7

 8 acknowledgment that the impacted individuals’ PII was acquired, thereby

 9 subjecting Plaintiff and Class Members to a substantial and imminent threat of

10
     fraud and identity theft.
11

12         46.    Defendants had obligations created by the FTC Act, GLBA, contract,

13 common law, and industry standards to keep Plaintiff’s and Class Members’ PII

14
     confidential and to protect it from unauthorized access and disclosure parties.
15

16 Wescom further had a duty to audit, monitor, and verify the integrity of its IT

17 vendors and affiliates. Defendants have legal duties to keep consumer’s PII safe

18
     and confidential.
19

20         Data Breaches Are Preventable
21         47.    Defendants did not use reasonable security procedures and practices
22
     appropriate to the nature of the sensitive information they were maintaining for
23

24 Plaintiff and Class Members, causing the exposure of PII, such as encrypting the

25 information or deleting it when it is no longer needed. Moreover, Wescom failed

26
     to exercise due diligence in selecting its IT vendors or deciding with whom it would
27

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 1 share sensitive PII.

 2
          48.    Defendants could have prevented this Data Breach by, among other
 3

 4 things, properly encrypting or otherwise protecting their equipment and computer

 5 files containing PII.

 6
          49.    To prevent and detect cyber-attacks and/or ransomware attacks
 7

 8 Defendants could and should have implemented, as recommended by the United

 9 States Government, the following measures:

10
             ● Implement an awareness and training program. Because end users are
11             targets, customers and individuals should be aware of the threat of
12             ransomware and how it is delivered.
13
             ● Enable strong spam filters to prevent phishing emails from reaching the
14             end users and authenticate inbound email using technologies like Sender
15             Policy Framework (SPF), Domain Message Authentication Reporting
               and Conformance (DMARC), and DomainKeys Identified Mail (DKIM)
16
               to prevent email spoofing.
17
             ● Scan all incoming and outgoing emails to detect threats and filter
18
               executable files from reaching end users.
19
             ● Configure firewalls to block access to known malicious IP addresses.
20

21           ● Patch operating systems, software, and firmware on devices. Consider
22
               using a centralized patch management system.

23           ● Set anti-virus and anti-malware programs to conduct regular scans
24             automatically.

25           ● Manage the use of privileged accounts based on the principle of least
26             privilege: no users should be assigned administrative access unless
               absolutely needed; and those with a need for administrator accounts
27
               should only use them when necessary.
28
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 1               ● Configure access controls—including file, directory, and network share
 2                 permissions—with least privilege in mind. If a user only needs to read
                   specific files, the user should not have write access to those files,
 3
                   directories, or shares.
 4
                 ● Disable macro scripts from office files transmitted via email. Consider
 5
                   using Office Viewer software to open Microsoft Office files transmitted
 6                 via email instead of full office suite applications.
 7
                 ● Implement Software Restriction Policies (SRP) or other controls to
 8
                   prevent programs from executing from common ransomware locations,
 9                 such as temporary folders supporting popular Internet browsers or
10                 compression/decompression        programs,     including       the
                   AppData/LocalAppData folder.
11

12               ● Consider disabling Remote Desktop protocol (RDP) if it is not being
                   used.
13

14               ● Use application whitelisting, which only allows systems to execute
                   programs known and permitted by security policy.
15

16               ● Execute operating system environments or specific programs in a
                   virtualized environment.
17

18               ● Categorize data based on organizational value and implement physical
19
                   and logical separation of networks and data for different organizational
                   units.11
20

21            50.       To prevent and detect cyber-attacks or ransomware attacks Defendants

22 could and should have implemented, as recommended by the Microsoft Threat

23
     Protection Intelligence Team, the following measures:
24

25            Secure internet-facing assets

26
     11
27        Id. at 3-4.
28
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 1        -     Apply latest security updates
 2
          -     Use threat and vulnerability management
          -     Perform regular audit; remove privileged credentials;
 3

 4        Thoroughly investigate and remediate alerts

 5        -     Prioritize and treat commodity malware infections as potential full
 6              compromise;

 7        Include IT Pros in security discussions
 8
          -     Ensure collaboration among [security operations], [security admins],
 9              and [information technology] admins to configure servers and other
10              endpoints securely;

11        Build credential hygiene
12
          -     Use [multifactor authentication] or [network level authentication] and
13              use strong, randomized, just-in-time local admin passwords;
14
          Apply principle of least-privilege
15

16        -     Monitor for adversarial activities
          -     Hunt for brute force attempts
17        -     Monitor for cleanup of Event Logs
18        -     Analyze logon events;
19        Harden infrastructure
20
          -     Use Windows Defender Firewall
21        -     Enable tamper protection
22        -     Enable cloud-delivered protection
          -     Turn on attack surface reduction rules and [Antimalware Scan
23              Interface] for Office[Visual Basic for Applications].12
24

25
     12
26
     See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020),
   available at: https://www.microsoft.com/security/blog/2020/03/05/human-
27 operated-ransomware-attacks-a-preventable-disaster/ (last visited Nov. 11, 2021).

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 1         51.   Given that Defendants were storing the PII of Wescom’s current and
 2
     former customers, Defendants could and should have implemented all of the above
 3

 4 measures to prevent and detect cyberattacks.

 5         52.   The occurrence of the Data Breach indicates that Defendants failed to
 6
     adequately implement one or more of the above measures to prevent cyberattacks,
 7

 8 resulting in the Data Breach and the exposure of the PII of over thirty thousand

 9 customers, including that of Plaintiff and Class Members.

10
           Defendants Acquire, Collect, And Store Customers' PII
11

12         53.   Defendants acquire, collect, and store a massive amount of PII on their

13 customers, former customers and other personnel.

14
           54.   Defendants retain and store this information and derive a substantial
15

16 economic benefit from the PII that they collect. But for the collection of Plaintiff’s

17 and Class Members’ PII, Defendants would be unable to perform their services.

18
           55.   By obtaining, collecting, and storing the PII of Plaintiff and Class
19

20 Members, Defendants assumed legal and equitable duties and knew or should have

21 known that it was responsible for protecting the PII from disclosure.

22
           56.   Plaintiff and Class Members have taken reasonable steps to maintain
23

24 the confidentiality of their PII and relied on Defendants to keep their PII

25 confidential and maintained securely, to use this information for business purposes

26
     only, and to make only authorized disclosures of this information.
27

28
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 1         57.    Defendants could have prevented this Data Breach by properly
 2
     securing and encrypting the files and file servers containing the PII of Plaintiff and
 3

 4 Class Members or by Wescom exercising due diligence in selecting its IT vendors

 5 and properly auditing those vendor’s security practices.

 6
           58.    Plaintiff and the Class Members relied on Defendants to keep their PII
 7

 8 confidential and securely maintained, to use this information for business purposes

 9 only, and to make only authorized disclosures of this information.

10
           Defendants Knew, or Should Have Known, of the Risk Because Financial
11         Institutions and Data Management Companies In Possession Of PII Are
12         Particularly Suspectable To Cyber Attacks

13         59.    Defendants’ data security obligations were particularly important
14
     given the substantial increase in cyber-attacks and/or data breaches targeting
15

16 financial institutions and data management companies that collect and store PII,

17 like Defendants, preceding the date of the breach.

18
           60.    Data breaches, including those perpetrated against financial
19

20 institutions and data management companies that store PII in their systems, have

21 become widespread.

22
           61.    In the third quarter of the 2023 fiscal year alone, 7333 organizations
23

24 experienced data breaches, resulting in 66,658,764 individuals’ personal

25

26

27

28
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 1 information being compromised.13

 2
              62.   In light of recent high profile data breaches at other industry leading
 3

 4 companies, including, Microsoft (250 million records, December 2019), Wattpad

 5 (268 million records, June 2020), Facebook (267 million users, April 2020), Estee

 6
     Lauder (440 million records, January 2020), Whisper (900 million records, March
 7

 8 2020), and Advanced Info Service (8.3 billion records, May 2020), Defendants

 9 knew or should have known that the PII that they collected and maintained would

10
     be targeted by cybercriminals.
11

12            63.   Indeed, cyber-attacks, such as the one experienced by Defendants,

13 have become so notorious that the Federal Bureau of Investigation (“FBI”) and U.S.

14
     Secret Service have issued a warning to potential targets so they are aware of, and
15

16 prepared for, a potential attack. As one report explained, smaller entities that store

17 PII are “attractive to ransomware criminals…because they often have lesser IT

18
     defenses and a high incentive to regain access to their data quickly.”14
19

20            64.   Defendants knew and understood unprotected or exposed PII in the
21 custody of financial institutions and data management companies, like Defendants,

22

23   13
          See https://www.idtheftcenter.org/publication/q3-data-breach-2023-analysis/
24 (last accessed Oct. 11, 2023).
     14
25   https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-
26
   service-warn-of-targeted-ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
   aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=co
27 nsumerprotection (last accessed Oct. 17, 2022).

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 1 is valuable and highly sought after by nefarious third parties seeking to illegally

 2
     monetize that PII through unauthorized access.
 3

 4          65.      At all relevant times, Defendants knew, or reasonably should have

 5 known, of the importance of safeguarding the PII of Plaintiff and Class Members

 6
     and of the foreseeable consequences that would occur if Defendants’ data security
 7

 8 systems were breached, including, specifically, the significant costs that would be

 9 imposed on Plaintiff and Class Members as a result of a breach.

10
            66.      Plaintiff and Class Members now face years of constant surveillance
11

12 of their financial and personal records, monitoring, and loss of rights. The Class is

13 incurring and will continue to incur such damages in addition to any fraudulent use

14
     of their PII.
15

16          67.      The injuries to Plaintiff and Class Members were directly and
17 proximately caused by Defendants’ failure to implement or maintain adequate data

18
     security measures for the PII of Plaintiff and Class Members.
19

20          68.      The ramifications of Defendants’ failure to keep secure the PII of
21 Plaintiff and Class Members are long lasting and severe. Once PII is stolen,

22
     fraudulent use of that information and damage to victims may continue for years.
23

24          69.      As a financial institution and data management company in custody of
25 customers’ PII, Defendants knew, or should have known, the importance of

26
     safeguarding PII entrusted to them by Plaintiff and Class Members, and of the
27

28
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 1 foreseeable consequences if their data security systems were breached. This

 2
     includes the significant costs imposed on Plaintiff and Class Members as a result
 3

 4 of a breach. Defendants failed, however, to take adequate cybersecurity measures

 5 to prevent the Data Breach.

 6
                Value Of PII
 7

 8              70.   The Federal Trade Commission (“FTC”) defines identity theft as “a

 9 fraud committed or attempted using the identifying information of another person

10
     without authority.”15 The FTC describes “identifying information” as “any name or
11

12 number that may be used, alone or in conjunction with any other information, to

13 identify a specific person,” including, among other things, “[n]ame, Social Security

14
     number, date of birth, official State or government issued driver’s license or
15

16 identification number, alien registration number, government passport number,

17 employer or taxpayer identification number.” 16

18
                71.   The PII of individuals remains of high value to criminals, as evidenced
19

20 by the prices they will pay through the dark web.

21              72.   Numerous sources cite dark web pricing for stolen identity
22
     credentials.17
23

24
     15
25        17 C.F.R. § 248.201 (2013).
     16
26        Id.
     17
27        Your personal data is for sale on the dark web. Here’s how much it costs, Digital
28
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 1           73.    For example, PII can be sold at a price ranging from $40 to $200.18
 2
     Criminals can also purchase access to entire company data breaches from $900 to
 3
          19
 4 $4,500.

 5           74.    PII can sell for as much as $363 per record according to the Infosec
 6
     Institute.20
 7

 8           75.    PII is particularly valuable because criminals can use it to target

 9 victims with frauds and scams.

10
             76.    PII use stolen PII for a variety of crimes, including credit card fraud,
11

12 phone or utilities fraud, and bank/finance fraud.

13           77.    This data, as one would expect, demands a much higher price on the
14
     black market. Martin Walter, senior director at cybersecurity firm RedSeal,
15

16 explained, “[c]ompared to credit card information, personally identifiable

17

18 Trends, Oct. 16, 2019, available at:
     https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-
19
     how-much-it-costs/ (last visited Oct. 17, 2022).
20   18
          Here’s How Much Your Personal Information Is Selling for on the Dark Web,
21 Experian, Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-

22
     experian/heres-how-much-your-personal-information-is-selling-for-on-the-dark-
     web/ (last visited Oct. 17, 2022).
23   19
          In the Dark, VPNOverview, 2019, available at:
24 https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last visited

25
     Oct. 217, 2022).
     20
26
     See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec
   (July 27, 2015), https://resources.infosecinstitute.com/topic/hackers-selling-
27 healthcare-data-in-the-black-market/ (last visited May 7, 2023).

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 1 information . . . [is] worth more than 10x on the black market.”21

 2
              78.   Among other forms of fraud, identity thieves may obtain driver’s
 3

 4 licenses, government benefits, medical services, and housing or even give false

 5 information to police.

 6
              79.   The fraudulent activity resulting from the Data Breach may not come
 7

 8 to light for years. There may be a time lag between when harm occurs versus when

 9 it is discovered, and also between when PII is stolen and when it is used. According

10
     to the U.S. Government Accountability Office (“GAO”), which conducted a study
11

12 regarding data breaches:

13            [L]aw enforcement officials told us that in some cases, stolen data may be
14            held for up to a year or more before being used to commit identity theft.
              Further, once stolen data have been sold or posted on the Web, fraudulent
15            use of that information may continue for years. As a result, studies that
16            attempt to measure the harm resulting from data breaches cannot necessarily
              rule out all future harm.22
17

18            80.   Based on the foregoing, the information compromised in the Data
19 Breach is significantly more valuable than the loss of, for example, credit card

20
     information in a retailer data breach because, there, victims can cancel or close
21

22

23   21
          Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
24 Credit Card Numbers, Computer World (Feb. 6, 2015),

25
     http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-
     for-10x-price-of-stolen-credit-card-numbers.html (last visited May 7, 2023).
26   22
          Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
27 https://www.gao.gov/assets/gao-07-737.pdf (last visited Oct. 17, 2022).

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 1 credit and debit card accounts. The information compromised in this Data Breach

 2
     is impossible to “close” and difficult, if not impossible, to change.
 3

 4         Defendants Fail To Comply With FTC Guidelines

 5         81.     The Federal Trade Commission (“FTC”) has promulgated numerous
 6
     guides for businesses which highlight the importance of implementing reasonable
 7

 8 data security practices. According to the FTC, the need for data security should be

 9 factored into all business decision-making.

10
           82.     In 2016, the FTC updated its publication, Protecting Personal
11

12 Information: A Guide for Business, which established cyber-security guidelines for

13 businesses. These guidelines note that businesses should protect the personal

14
     customer information that they keep; properly dispose of personal information that
15

16 is no longer needed; encrypt information stored on computer networks; understand

17 their network’s vulnerabilities; and implement policies to correct any security

18
     problems.23
19

20         83.     The guidelines also recommend that businesses use an intrusion
21 detection system to expose a breach as soon as it occurs; monitor all incoming

22
     traffic for activity indicating someone is attempting to hack the system; watch for
23

24
     23
25   Protecting Personal Information: A Guide for Business, Federal Trade
26
   Commission (2016). Available at
   https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
27 personal-information.pdf (last visited Oct. 17, 2022).

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 1 large amounts of data being transmitted from the system; and have a response plan

 2
     ready in the event of a breach.24
 3

 4              84.   The FTC further recommends that companies not maintain PII longer

 5 than is needed for authorization of a transaction; limit access to sensitive data;

 6
     require complex passwords to be used on networks; use industry-tested methods
 7

 8 for security; monitor for suspicious activity on the network; and verify that third-

 9 party service providers have implemented reasonable security measures.

10
                85.   The FTC has brought enforcement actions against financial
11

12 institutions for failing to protect customer data adequately and reasonably, treating

13 the failure to employ reasonable and appropriate measures to protect against

14
     unauthorized access to confidential consumer data as an unfair act or practice
15

16 prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C.

17 § 45. Orders resulting from these actions further clarify the measures businesses

18
     must take to meet their data security obligations.
19

20              86.   These FTC enforcement actions include actions against financial
21 institutions and data management companies, like Defendants.

22
                87.   As evidenced by the Data Breach, Defendants failed to properly
23

24 implement basic data security practices, and Wescom failed to audit, monitor, or

25 ensure the integrity of its vendor’s data security practices. Defendants’ failure to

26
     24
27        Id.
28
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 1 employ reasonable and appropriate measures to protect against unauthorized access

 2
     to Plaintiff’s and Class Members’ PII constitutes an unfair act or practice prohibited
 3

 4 by Section 5 of the FTCA.

 5         88.    Upon information and belief, Defendants were at all times fully aware
 6
     of their obligations to protect the PII of Wescom’s customers. Defendants were also
 7

 8 aware of the significant repercussions that would result from their failure to do so.

 9         Wescom Fails To Comply with the Gramm-Leach-Bliley Act
10
           89.    Wescom is a financial institution, as that term is defined by Section
11

12 509(3)(A) of the Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. § 6809(3)(A),

13 and thus is subject to the GLBA.

14
           90.    The GLBA defines a financial institution as “any institution the
15

16 business of which is engaging in financial activities as described in Section 1843(k)

17 of Title 12 [The Bank Holding Company Act of 1956].” 15 U.S.C. § 6809(3)(A).

18
           91.    Wescom collects nonpublic personal information, as defined by 15
19

20 U.S.C. § 6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1).

21 Accordingly, during the relevant time period Wescom was subject to the

22
     requirements of the GLBA, 15 U.S.C. §§ 6801.1, et seq., and is subject to numerous
23

24 rules and regulations promulgated on the GLBA statutes.

25         92.    The GLBA Privacy Rule became effective on July 1, 2001. See 16
26
     C.F.R. Part 313. Since the enactment of the Dodd-Frank Act on July 21, 2010, the
27

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 1 CFPB became responsible for implementing the Privacy Rule. In December 2011,

 2
     the CFPB restated the implementing regulations in an interim final rule that
 3

 4 established the Privacy of Consumer Financial Information, Regulation P, 12

 5 C.F.R. § 1016 (“Regulation P”), with the final version becoming effective on

 6
     October 28, 2014.
 7

 8         93.    Accordingly, Wescom’s conduct is governed by the Privacy Rule prior

 9 to December 30, 2011 and by Regulation P after that date.

10
           94.    Both the Privacy Rule and Regulation P require financial institutions
11

12 to provide customers with an initial and annual privacy notice. These privacy

13 notices must be “clear and conspicuous.” 16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R.

14
     §§ 1016.4 and 1016.5. “Clear and conspicuous means that a notice is reasonably
15

16 understandable and designed to call attention to the nature and significance of the

17 information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R. § 1016.3(b)(1). These

18
     privacy notices must “accurately reflect[] [the financial institution’s] privacy
19

20 policies and practices.” 16 C.F.R. § 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and

21 1016.5. They must include specified elements, including the categories of

22
     nonpublic personal information the financial institution collects and discloses, the
23

24 categories of third parties to whom the financial institution discloses the

25 information, and the financial institution’s security and confidentiality policies and

26
     practices for nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. §
27

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 1 1016.6. These privacy notices must be provided “so that each consumer can

 2
     reasonably be expected to receive actual notice.” 16 C.F.R. § 313.9; 12 C.F.R. §
 3

 4 1016.9. As alleged herein, Wescom violated the Privacy Rule and Regulation P.

 5         95.    Upon information and belief, Wescom failed to provide annual
 6
     privacy notices to customers after the customer relationship ended, despite
 7

 8 retaining these customers’ PII and storing that PII on Wescom’ network systems.

 9         96.    Wescom failed to adequately inform their customers that they were
10
     storing and/or sharing, or would store and/or share, the customers’ PII on an
11

12 unsecure platform, accessible to unauthorized parties from the internet, and would

13 do so after the customer relationship ended.

14
           97.    The Safeguards Rule, which implements Section 501(b) of the GLBA,
15

16 15 U.S.C. § 6801(b), requires financial institutions to protect the security,

17 confidentiality,   and integrity of customer information by developing a
18
     comprehensive written information security program that contains reasonable
19

20 administrative, technical, and physical safeguards, including: (1) designating one

21 or more employees to coordinate the information security program; (2) identifying

22
     reasonably foreseeable internal and external risks to the security, confidentiality,
23

24 and integrity of customer information, and assessing the sufficiency of any

25 safeguards in place to control those risks; (3) designing and implementing

26
     information safeguards to control the risks identified through risk assessment, and
27

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 1 regularly testing or otherwise monitoring the effectiveness of the safeguards’ key

 2
     controls, systems, and procedures; (4) overseeing service providers and requiring
 3

 4 them by contract to protect the security and confidentiality of customer

 5 information; and (5) evaluating and adjusting the information security program in

 6
     light of the results of testing and monitoring, changes to the business operation, and
 7

 8 other relevant circumstances. 16 C.F.R. §§ 314.3 and 314.4.

 9         98.    As alleged herein, Wescom violated the Safeguard Rule.
10
           99.    Wescom failed to assess reasonably foreseeable risks to the security,
11

12 confidentiality, and integrity of customer information and failed to monitor the

13 systems of its IT partners or verify the integrity of those systems.

14
           100. Wescom violated the GLBA and its own policies and procedures by
15

16 sharing the PII of Plaintiff and Class Members with a non-affiliated third party

17 without providing Plaintiff and Class Members (a) an opt-out notice and (b) a

18
     reasonable opportunity to opt out of such disclosure.
19

20         Defendants Fail To Comply With Industry Standards
21         101. As noted above, experts studying cyber security routinely identify
22
     financial institutions and data management companies in possession of PII as being
23

24 particularly vulnerable to cyberattacks because of the value of the PII which they

25 collect and maintain.

26
           102. Several best practices have been identified that, at a minimum, should
27

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 1 be implemented by financial institutions and data management companies in

 2
     possession of PII, like Defendants, including but not limited to: educating all
 3

 4 employees; strong passwords; multi-layer security, including firewalls, anti-virus,

 5 and anti-malware software; encryption, making data unreadable without a key;

 6
     multi-factor authentication; backup data and limiting which employees can access
 7

 8 sensitive data. Defendants failed to follow these industry best practices, including

 9 a failure to implement multi-factor authentication.

10
           103. Other best cybersecurity practices that are standard in the financial
11

12 services and data management industries include installing appropriate malware

13 detection software; monitoring and limiting the network ports; protecting web

14
     browsers and email management systems; setting up network systems such as
15

16 firewalls, switches and routers; monitoring and protection of physical security

17 systems; protection against any possible communication system; training staff

18
     regarding critical points. Defendants failed to follow these cybersecurity best
19

20 practices, including failure to train staff.

21         104. Defendants failed to meet the minimum standards of any of the
22
     following frameworks: the NIST Cybersecurity Framework Version 1.1 (including
23

24 without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7,

25 PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-

26
     7, DE.CM-8, and RS.CO-2), and the Center for Internet Security’s Critical Security
27

28
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 1 Controls (CIS CSC), which are all established standards in reasonable

 2
     cybersecurity readiness.
 3

 4         105. These foregoing frameworks are existing and applicable industry

 5 standards in the financial services and data management industries, and upon

 6
     information and belief, Defendants failed to comply with at least one––or all––of
 7

 8 these accepted standards, thereby opening the door to the threat actor and causing

 9 the Data Breach.

10
           Defendants Breached Their Duties to Safeguard Customers’ PII
11

12         106. In addition to their obligations under federal and state laws,

13 Defendants owed duties to Plaintiff and Class Members to exercise reasonable care

14
     in obtaining, retaining, securing, safeguarding, deleting, and protecting the PII in
15

16 their possession from being compromised, lost, stolen, accessed, and misused by

17 unauthorized persons. Defendants owed duties to Plaintiff and Class Members to

18
     provide reasonable security, including consistency with industry standards and
19

20 requirements, and to ensure that their computer systems, networks, and protocols

21 adequately protected the PII of Class Members

22
           107. Defendants breached their obligations to Plaintiff and Class Members
23

24 and/or was otherwise negligent and reckless because it failed to properly maintain

25 and safeguard their computer systems and data, and Wescom failed to audit,

26
     monitor, or ensure the integrity of its vendor’s data security practices. Defendants’
27

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 1 unlawful conduct includes, but is not limited to, the following acts and/or

 2
     omissions:
 3

 4            a. Failing to maintain an adequate data security system that would reduce

 5                the risk of data breaches and cyberattacks;
 6
              b. Failing to adequately protect customers’ PII;
 7

 8            c. Failing to properly monitor their own data security systems for existing

 9                intrusions;
10
              d. Failing to audit, monitor, or ensure the integrity of their vendor’s data
11

12                security practices;

13            e. Failing to sufficiently train their employees and vendors regarding the
14
                  proper handling of customers’ PII;
15

16            f. Failing to fully comply with FTC guidelines for cybersecurity in

17                violation of the FTCA;
18
              g. Failing to adhere to the Gramm-Leach-Bliley Act and industry
19

20                standards for cybersecurity as discussed above; and,
21            h. Otherwise breaching their duties and obligations to protect Plaintiff’s
22
                  and Class Members’ PII.
23

24         108. Defendants negligently and unlawfully failed to safeguard Plaintiff’s
25 and Class Members’ PII by allowing cyberthieves to access their computer

26
     networks and systems and/or their vendor’s computer networks and systems, which
27

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 1 contained unsecured and unencrypted PII.

 2
           109. Had Defendants remedied the deficiencies in their information storage
 3

 4 and security systems or those of their vendors and affiliates, followed industry

 5 guidelines, and adopted security measures recommended by experts in the field, it

 6
     could have prevented intrusion into their information storage and security systems
 7

 8 and, ultimately, the theft of Plaintiff’s and Class Members’ confidential PII.

 9         Common Injuries & Damages
10
           110. As a result of Defendants’ ineffective and inadequate data security
11

12 practices, the Data Breach, and the foreseeable consequences of PII ending up in

13 the possession of criminals, the risk of identity theft to the Plaintiff and Class

14
     Members has materialized and is imminent, and Plaintiff and Class Members have
15

16 all sustained actual injuries and damages, including: (i) invasion of privacy; (ii)

17 theft of their PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity

18
     costs associated with attempting to mitigate the actual consequences of the Data
19

20 Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated with

21 attempting to mitigate the actual consequences of the Data Breach; (vii) statutory

22
     damages; (viii) nominal damages; and (ix) the continued and certainly increased
23

24 risk to their PII, which: (a) remains unencrypted and available for unauthorized

25 third parties to access and abuse; and (b) remains backed up in Defendants’

26
     possession and is subject to further unauthorized disclosures so long as Defendants
27

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 1 fail to undertake appropriate and adequate measures to protect the PII.

 2
            The Data Breach Increases Victims' Risk Of Identity Theft
 3

 4          111. Plaintiff and Class Members are at a heightened risk of identity theft

 5 for years to come.

 6
            112. The unencrypted PII of Class Members will end up for sale on the dark
 7

 8 web because that is the modus operandi of hackers. In addition, unencrypted PII

 9 may fall into the hands of companies that will use the detailed PII for targeted

10
     marketing without the approval of Plaintiff and Class Members. Unauthorized
11

12 individuals can easily access the PII of Plaintiff and Class Members.

13          113. The link between a data breach and the risk of identity theft is simple
14
     and well established. Criminals acquire and steal PII to monetize the information.
15

16 Criminals monetize the data by selling the stolen information on the black market

17 to other criminals who then utilize the information to commit a variety of identity

18
     theft related crimes discussed below.
19

20          114. Because a person’s identity is akin to a puzzle with multiple data
21 points, the more accurate pieces of data an identity thief obtains about a person, the

22
     easier it is for the thief to take on the victim’s identity--or track the victim to attempt
23

24 other hacking crimes against the individual to obtain more data to perfect a crime.

25          115. For example, armed with just a name and date of birth, a data thief can
26
     utilize a hacking technique referred to as “social engineering” to obtain even more
27

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 1 information about a victim’s identity, such as a person’s login credentials or Social

 2
     Security number. Social engineering is a form of hacking whereby a data thief uses
 3

 4 previously acquired information to manipulate and trick individuals into disclosing

 5 additional confidential or personal information through means such as spam phone

 6
     calls and text messages or phishing emails. Data Breaches can be the starting point
 7

 8 for these additional targeted attacks on the victim.

 9         116. One such example of criminals piecing together bits and pieces of
10
     compromised PII for profit is the development of “Fullz” packages.25
11

12         117. With “Fullz” packages, cyber-criminals can cross-reference two

13 sources of PII to marry unregulated data available elsewhere to criminally stolen

14

15
     25
       “Fullz” is fraudster speak for data that includes the information of the victim,
16
     including, but not limited to, the name, address, credit card information, social
17   security number, date of birth, and more. As a rule of thumb, the more information
     you have on a victim, the more money that can be made off of those credentials.
18
     Fullz are usually pricier than standard credit card credentials, commanding up to
19   $100 per record (or more) on the dark web. Fullz can be cashed out (turning
     credentials into money) in various ways, including performing bank transactions
20
     over the phone with the required authentication details in-hand. Even “dead Fullz,”
21   which are Fullz credentials associated with credit cards that are no longer valid,
22
     can still be used for numerous purposes, including tax refund scams, ordering
     credit cards on behalf of the victim, or opening a “mule account” (an account that
23   will accept a fraudulent money transfer from a compromised account) without the
24
     victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in
     Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18,
25   2014), https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-
26
     underground-stolen-from-texas-life-insurance-
     ](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-
27   stolen-from-texas-life-insurance-finn/ (last visited on May 26, 2023).
28
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 1 data with an astonishingly complete scope and degree of accuracy in order to

 2
     assemble complete dossiers on individuals.
 3

 4         118. The development of “Fullz” packages means here that the stolen PII

 5 from the Data Breach can easily be used to link and identify it to Plaintiff’ and

 6
     Class Members’ phone numbers, email addresses, and other unregulated sources
 7

 8 and identifiers. In other words, even if certain information such as emails, phone

 9 numbers, or credit card numbers may not be included in the PII that was exfiltrated

10
     in the Data Breach, criminals may still easily create a Fullz package and sell it at a
11

12 higher price to unscrupulous operators and criminals (such as illegal and scam

13 telemarketers) over and over.

14
           119. The existence and prevalence of “Fullz” packages means that the PII
15

16 stolen from the data breach can easily be linked to the unregulated data (like phone

17 numbers and emails) of Plaintiff and the other Class Members.

18
           120. Thus, even if certain information (such as Social Security numbers)
19

20 was not stolen in the data breach, criminals can still easily create a comprehensive

21 “Fullz” package.

22
           121. Then, this comprehensive dossier can be sold—and then resold in
23

24 perpetuity—to crooked operators and other criminals (like illegal and scam

25 telemarketers).

26
           Loss Of Time To Mitigate Risk Of Identity Theft And Fraud
27

28
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 1            122. As a result of the recognized risk of identity theft, when a Data Breach
 2
     occurs, and an individual is notified by a company that their PII was compromised,
 3

 4 as in this Data Breach, the reasonable person is expected to take steps and spend

 5 time to address the dangerous situation, learn about the breach, and otherwise

 6
     mitigate the risk of becoming a victim of identity theft of fraud. Failure to spend
 7

 8 time taking steps to review accounts or credit reports could expose the individual

 9 to greater financial harm – yet, the resource and asset of time has been lost.

10
              123. Thus, due to the actual and imminent risk of identity theft as a result
11

12 of the Data Breach, Wescom, in its Notice Letter, instructs Plaintiff and Class

13 Members to do the following:

14
              We remind you to remain vigilant to the possibility of fraud by reviewing
15            your financial statements and credit reports for any unauthorized activity. If
16            you see anything you do not recognize, please contact us or the relevant
              financial institution right away. We have also included information on what
17            you can do to better protect against possible misuse of your information.
18
                    Review the enclosed “Additional Steps You Can Take” document to
19                  continue to guard your information from fraud or identity theft. If you
20                  see anything you do not understand, call the credit agency
                    immediately.
21

22                  Sign up for free Account Alerts in Online Banking to help you keep
                    track of your Wescom accounts via text message or email
23                  notifications.
24
                    Visit our Security Center at wescom.org/security-center for more
25                  ways on how Wescom can help you keep your accounts safe.26
26
     26
27        The Notice Letter.
28
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 1            124. Plaintiff and Class Members have spent, and will spend additional
 2
     time in the future, on a variety of prudent actions, such as replacing debit cards in
 3

 4 response to fraudulent charges; contacting banks to sort out fraudulent activity on

 5 their accounts and place security measures on their accounts; and researching and

 6
     verifying the legitimacy of the Data Breach, upon receiving the Notice Letter.
 7

 8            125. Plaintiff’s mitigation efforts are consistent with the U.S. Government

 9 Accountability Office that released a report in 2007 regarding data breaches (“GAO

10
     Report”) in which it noted that victims of identity theft will face “substantial costs
11
                                                                        27
12 and time to repair the damage to their good name and credit record.”

13            126. Plaintiff’s mitigation efforts are also consistent with the steps that FTC
14
     recommends that data breach victims take several steps to protect their personal
15

16 and financial information after a data breach, including: contacting one of the credit

17 bureaus to place a fraud alert (consider an extended fraud alert that lasts for seven

18
     years if someone steals their identity), reviewing their credit reports, contacting
19

20 companies to remove fraudulent charges from their accounts, placing a credit freeze

21 on their credit, and correcting their credit reports.28

22

23   27
          See United States Government Accountability Office, GAO-07-737, Personal
24 Information: Data Breaches Are Frequent, but Evidence of Resulting Identity Theft

25
     Is Limited; However, the Full Extent Is Unknown (June 2007),
     https://www.gao.gov/new.items/d07737.pdf.
26   28
          See Federal Trade Commission, Identity Theft.gov,
27 https://www.identitytheft.gov/Steps (last visited July 7, 2022).

28
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 1         127. And for those Class Members who experience actual identity theft and
 2
     fraud, the United States Government Accountability Office released a report in
 3

 4 2007 regarding data breaches (“GAO Report”) in which it noted that victims of

 5 identity theft will face “substantial costs and time to repair the damage to their good

 6
     name and credit record.”29
 7

 8         Future Cost of Credit and Identity Theft Monitoring is Reasonable and
           Necessary
 9

10         128. Plaintiff and Class Members are at a present and continuous risk of

11 fraud and identity theft for many years into the future.

12
           129. The retail cost of credit monitoring and identity theft monitoring can
13

14 cost around $200 a year per Class Member. This is reasonable and necessary cost

15 to monitor to protect Class Members from the risk of identity theft that arose from

16
     Defendants’ Data Breach.
17

18         Loss Of The Benefit Of The Bargain
19         130. Furthermore, Defendants’ poor data security deprived Plaintiff and
20
     Class Members of the benefit of their bargain. When agreeing to pay Wescom
21

22 and/or its agents for financial services, Plaintiff and other reasonable consumers

23 understood and expected that they were, in part, paying for the service and

24
     29
25   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is
26
   Limited; However, the Full Extent Is Unknown,” p. 2, U.S. Government
   Accountability Office, June 2007, https://www.gao.gov/new.items/d07737.pdf (last
27 visited Sep. 13, 2022) (“GAO Report”).

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 1 necessary data security to protect the PII, when in fact, Defendants did not provide

 2
     the expected data security. Accordingly, Plaintiff and Class Members received
 3

 4 financial services that were of a lesser value than what they reasonably expected to

 5 receive under the bargains they struck with Wescom.

 6
           Plaintiff Wall's Experience
 7

 8         131. Plaintiff Priscilla Wall is a current Wescom customer.

 9         132. In order to obtain financial services at Wescom, she was required to
10
     provide her PII to Defendants, including her name and financial account
11

12 information.

13         133. At the time of the Data Breach₋₋October 30, 2022 through May 30,
14
     2023₋₋Defendants retained Plaintiff’s PII in their systems.
15

16         134. Plaintiff Wall is very careful about sharing her sensitive PII. Plaintiff
17 stores any documents containing her PII in a safe and secure location. She has never

18
     knowingly transmitted unencrypted sensitive PII over the internet or any other
19

20 unsecured source. Plaintiff would not have entrusted her PII to Defendants had she

21 known of Defendants’ lax data security policies.

22
           135. Plaintiff Priscilla Wall received the Notice Letter, by U.S. mail,
23

24 directly from Wescom, dated October 20, 2023. According to the Notice Letter,

25 Plaintiff’s PII was improperly accessed and obtained by unauthorized third parties,

26
     including her name and financial account number.
27

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 1         136. As a result of the Data Breach, and at the direction of Wescom’s
 2
     Notice Letter, Plaintiff made reasonable efforts to mitigate the impact of the Data
 3

 4 Breach, including replacing debit cards in response to fraudulent charges;

 5 contacting banks to sort out fraudulent activity and place security measures on her

 6
     accounts; and researching and verifying the legitimacy of the Data Breach, upon
 7

 8 receiving the Notice Letter. Plaintiff has spent significant time dealing with the

 9 Data Breach₋₋valuable time Plaintiff otherwise would have spent on other

10
     activities, including but not limited to work and/or recreation. This time has been
11

12 lost forever and cannot be recaptured.

13         137. Plaintiff suffered actual injury from having her PII compromised as a
14
     result of the Data Breach including, but not limited to: (i) invasion of privacy; (ii)
15

16 theft of her PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity

17 costs associated with attempting to mitigate the actual consequences of the Data

18
     Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated with
19

20 attempting to mitigate the actual consequences of the Data Breach; (vii) statutory

21 damages; (viii) nominal damages; and (ix) the continued and certainly increased

22
     risk to her PII, which: (a) remains unencrypted and available for unauthorized third
23

24 parties to access and abuse; and (b) remains backed up in Defendants’ possession

25 and is subject to further unauthorized disclosures so long as Defendants fail to

26
     undertake appropriate and adequate measures to protect the PII.
27

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 1        138. Plaintiff also suffered actual injury in the form of experiencing
 2
     fraudulent charges to Wescom debit card, for approximately $11, in or about
 3

 4 November 2023, which, upon information and belief, was caused by the Data

 5 Breach.

 6
          139. Plaintiff further suffered actual injury in the form of experiencing an
 7

 8 increase in spam calls, texts, and/or emails, which, upon information and belief,

 9 was caused by the Data Breach.

10
          140. The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress,
11

12 which has been compounded by the fact that Defendants have still not fully

13 informed her of key details about the Data Breach’s occurrence.

14
          141. As a result of the Data Breach, Plaintiff anticipates spending
15

16 considerable time and money on an ongoing basis to try to mitigate and address

17 harms caused by the Data Breach.

18
          142. As a result of the Data Breach, Plaintiff is at a present risk and will
19

20 continue to be at increased risk of identity theft and fraud for years to come.

21        143. Plaintiff Priscilla Wall has a continuing interest in ensuring that her
22
     PII, which, upon information and belief, remains backed up in Defendants’
23

24 possession, is protected and safeguarded from future breaches.

25                        CLASS ACTION ALLEGATIONS
26
          144. Plaintiff brings this class action on behalf of herself and others similarly
27

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 1 situated, pursuant to Federal Rule of Civil Procedure 23, for the following Class and

 2
     Subclass defined as:
 3

 4         Nationwide Class
           All individuals residing in the United States whose PII was compromised
 5         in the data breach announced by Wescom in October 2023 (the “Class”).
 6
           California Subclass
 7         All individuals residing in the United States whose PII was compromised
 8         in the data breach announced by Wescom in October 2023 (the
           "California Subclass”).
 9

10         145. Excluded from the Class and California Subclass are the following

11 individuals and/or entities: Defendants and Defendants’ parents, subsidiaries,

12
     affiliates, officers and directors, and any entity in which Defendants has a controlling
13

14 interest; all individuals who make a timely election to be excluded from this

15 proceeding using the correct protocol for opting out; and all judges assigned to hear

16
     any aspect of this litigation, as well as their immediate family members.
17

18         146. Certification of Plaintiff’s claims for class-wide treatment is
19 appropriate because Plaintiff can prove the elements of her claims on class-wide

20
     basis using the same evidence as would be used to prove those elements in individual
21

22 actions asserting the same claims.

23         147. Numerosity: The members of the Class are so numerous that joinder
24
     of all members is impracticable, if not completely impossible. At least 34,000
25

26 individuals were notified by Wescom of the Data Breach, according to the breach

27

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 1 report submitted to Office of the Maine Attorney General.30 The Class is apparently

 2
     identifiable within Defendants’ records, and Defendants have already identified
 3

 4 these individuals (as evidenced by Wescom sending them breach notification

 5 letters).

 6
             148. Commonality and Predominance: Common questions of law and fact
 7

 8 exist as to all members of the Class that predominate over any questions affecting

 9 solely individual members of the Class. The questions of law and fact common to

10
     the Class, which may affect individual Class members, include, but are not limited
11

12 to, the following:

13              a.   Whether and to what extent Defendants had duties to protect the PII
14
                     of Plaintiff and Class Members;
15

16              b.   Whether Defendants had respective duties not to disclose the PII of
17                   Plaintiff and Class Members to unauthorized third parties;
18
                c.   Whether Defendants had respective duties not to use the PII of
19

20                   Plaintiff and Class Members for non-business purposes;
21              d.   Whether Defendants failed to adequately safeguard the PII of Plaintiff
22
                     and Class Members;
23

24              e.   Whether and when Defendants actually learned of the Data Breach;
25

26   30
          https://apps.web.maine.gov/online/aeviewer/ME/40/d55f0583-a6fb-45aa-a46f-
27 adb949f4197b.shtml (last accessed Nov. 6, 2023).

28
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 1           f.    Whether Defendants adequately, promptly, and accurately informed
 2
                   Plaintiff and Class Members that their PII had been compromised;
 3

 4           g..   Whether Defendants violated the law by failing to promptly notify

 5                 Plaintiff and Class Members that their PII had been compromised;
 6
             h.    Whether Defendants failed to implement and maintain reasonable
 7

 8                 security procedures and practices appropriate to the nature and scope

 9                 of the information compromised in the Data Breach;
10
             i.    Whether    Defendants    adequately    addressed   and      fixed   the
11

12                 vulnerabilities which permitted the Data Breach to occur;

13           j.    Whether Plaintiff and Class Members are entitled to actual damages,
14
                   statutory damages, and/or nominal damages as a result of Defendants’
15

16                 wrongful conduct; and
17           k.    Whether Plaintiff and Class Members are entitled to injunctive relief
18
                   to redress the imminent and currently ongoing harm faced as a result
19

20                 of the Data Breach.
21        149. Typicality: Plaintiff’s claims are typical of those of the other members
22
     of the Class because Plaintiff, like every other Class Member, was exposed to
23

24 virtually identical conduct and now suffers from the same violations of the law as

25 each other member of the Class.

26
          150. Policies Generally Applicable to the Class: This class action is also
27

28
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 1 appropriate for certification because Defendants acted or refused to act on grounds

 2
     generally applicable to the Class, thereby requiring the Court’s imposition of
 3

 4 uniform relief to ensure compatible standards of conduct toward the Class Members

 5 and making final injunctive relief appropriate with respect to the Nationwide Class

 6
     as a whole. Defendants’ policies challenged herein apply to and affect Class
 7

 8 Members uniformly and Plaintiff’s challenge of these policies hinges on Defendants’

 9 conduct with respect to the Class as a whole, not on facts or law applicable only to

10
     Plaintiff.
11

12          151. Adequacy: Plaintiff will fairly and adequately represent and protect the

13 interests of the Class Members in that she has no disabling conflicts of interest that

14
     would be antagonistic to those of the other Class Members. Plaintiff seeks no relief
15

16 that is antagonistic or adverse to the Class Members and the infringement of the

17 rights and the damages she has suffered are typical of other Class Members. Plaintiff

18
     has retained counsel experienced in complex class action and data breach litigation,
19

20 and Plaintiff intends to prosecute this action vigorously.

21          152. Superiority and Manageability: The class litigation is an appropriate
22
     method for fair and efficient adjudication of the claims involved. Class action
23

24 treatment is superior to all other available methods for the fair and efficient

25 adjudication of the controversy alleged herein; it will permit a large number of Class

26
     Members to prosecute their common claims in a single forum simultaneously,
27

28
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 1 efficiently, and without the unnecessary duplication of evidence, effort, and expense

 2
     that hundreds of individual actions would require. Class action treatment will permit
 3

 4 the adjudication of relatively modest claims by certain Class Members, who could

 5 not individually afford to litigate a complex claim against large corporations, like

 6
     Defendants. Further, even for those Class Members who could afford to litigate such
 7

 8 a claim, it would still be economically impractical and impose a burden on the courts.

 9         153. Plaintiff and Class Members are ascertainable because Defendants’
10
     records will identify all victims of Defendants’ Data Breach.
11

12         154. Plaintiff and Class Members are sufficiently numerous as to justify

13 class action. Specifically, the putative Class exceeds 81,000 individuals.

14
           155. Plaintiff and Class Members have a well-defined community of interest
15

16 in pursuing relief from the harm that resulted from the Data Breach, including (1)

17 predominant common questions of law or fact; (2) a class representative with claims

18
     or defenses typical of the class; and (3) a class representative who can adequately
19

20 represent the class.

21         156. The nature of this action and the nature of laws available to Plaintiff
22
     and Class Members make the use of the class action device a particularly efficient
23

24 and appropriate procedure to afford relief to Plaintiff and Class Members for the

25 wrongs alleged because Defendants would necessarily gain an unconscionable

26
     advantage since they would be able to exploit and overwhelm the limited resources
27

28
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 1 of each individual Class Member with superior financial and legal resources; the

 2
     costs of individual suits could unreasonably consume the amounts that would be
 3

 4 recovered; proof of a common course of conduct to which Plaintiff was exposed is

 5 representative of that experienced by the Class and will establish the right of each

 6
     Class Member to recover on the cause of action alleged; and individual actions
 7

 8 would create a risk of inconsistent results and would be unnecessary and duplicative

 9 of this litigation.

10
           157. The litigation of the claims brought herein is manageable. Defendants’
11

12 uniform conduct, the consistent provisions of the relevant laws, and the ascertainable

13 identities of Class Members demonstrates that there would be no significant

14
     manageability problems with prosecuting this lawsuit as a class action.
15

16         158. Adequate notice can be given to Class Members directly using
17 information maintained in Defendants’ records.

18
           159. Unless a Class-wide injunction is issued, Defendants may continue in
19

20 their failure to properly secure the PII of Class Members, Defendants may continue

21 to refuse to provide proper notification to Class Members regarding the Data Breach,

22
     and Defendants may continue to act unlawfully as set forth in this Complaint.
23

24                                      COUNT I
                                        Negligence
25                         (On Behalf of Plaintiff and the Class)
26
           160. Plaintiff restates and realleges the factual allegations in paragraphs 1
27

28
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 1 through 159, as if fully set forth herein.

 2
           161. Wescom requires its customers, including Plaintiff and Class Members,
 3

 4 to submit non-public PII to Defendants in the ordinary course of providing its

 5 financial services.

 6
           162. Defendants gathered and stored the PII of Plaintiff and Class Members
 7

 8 as part of their businesses of soliciting their services to their customers and/or clients,

 9 which solicitations and services affect commerce.

10
           163. Plaintiff and Class Members entrusted Defendants with their PII with
11

12 the understanding that Defendants would safeguard their information.

13         164. Defendants had full knowledge of the sensitivity of the PII and the types
14
     of harm that Plaintiff and Class Members could and would suffer if the PII were
15

16 wrongfully disclosed.

17         165. By assuming the responsibility to collect and store this data, and in fact
18
     doing so, and sharing it and using it for commercial gain, Defendants had duties of
19

20 care to use reasonable means to secure and safeguard their computer property—and

21 Class Members’ PII held within it—to prevent disclosure of the information, and to

22
     safeguard the information from theft. Defendants’ duty included a responsibility to
23

24 implement processes by which they could detect a breach of their security systems

25 in a reasonably expeditious period of time and to give prompt notice to those affected

26
     in the case of a data breach. Moreover, Wescom’s duty included a responsibility to
27

28
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 1 exercise due diligence in selecting IT vendors and to audit, monitor, and ensure the

 2
     integrity of its vendor’s systems and practices and to give prompt notice to those
 3

 4 affected in the case of a data breach.

 5         166. Defendants had duties to employ reasonable security measures under
 6
     Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits
 7

 8 “unfair . . . practices in or affecting commerce,” including, as interpreted and

 9 enforced by the FTC, the unfair practice of failing to use reasonable measures to

10
     protect confidential data.
11

12         167. Wescom’s duty to use reasonable security measures also arose under

13 the GLBA, under which they were required to protect the security, confidentiality,

14
     and integrity of customer information by developing a comprehensive written
15

16 information security program that contains reasonable administrative, technical, and

17 physical safeguards.

18
           168. Defendants owed duties of care to Plaintiff and Class Members to
19

20 provide data security consistent with industry standards and other requirements

21 discussed herein, and to ensure that their systems and networks, and the personnel

22
     responsible for them, adequately protected the PII.
23

24         169. Defendants’ duties of care to use reasonable security measures arose as
25 a result of the special relationship that existed between Wescom and Plaintiff and

26
     Class Members. That special relationship arose because Plaintiff and the Class
27

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 1 entrusted Wescom with their confidential PII, a necessary part of being customers at

 2
     Wescom.
 3

 4         170. Defendants’ duty to use reasonable care in protecting confidential data

 5 arose not only as a result of the statutes and regulations described above, but also

 6
     because Defendants are bound by industry standards to protect confidential PII.
 7

 8         171. Defendants were subject to an “independent duty,” untethered to any

 9 contract between Defendants and Plaintiff or the Class.

10
           172. Defendants also had duties to exercise appropriate clearinghouse
11

12 practices to remove former customers’ PII it was no longer required to retain

13 pursuant to regulations.

14
           173. Moreover, Defendants had duties to promptly and adequately notify
15

16 Plaintiff and the Class of the Data Breach.

17         174. Defendants had and continues to have duties to adequately disclose that
18
     the PII of Plaintiff and the Class within Defendants’ possession might have been
19

20 compromised, how it was compromised, and precisely the types of data that were

21 compromised and when. Such notice was necessary to allow Plaintiff and the Class

22
     to take steps to prevent, mitigate, and repair any identity theft and the fraudulent use
23

24 of their PII by third parties.

25         175. Defendants breached their duties, pursuant to the FTC Act, and
26
     Wescom breached its duties, pursuant to GLBA and other applicable standards, and
27

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 1 thus were negligent, by failing to use reasonable measures to protect Class Members’

 2
     PII. The specific negligent acts and omissions committed by Defendants include, but
 3

 4 are not limited to, the following:

 5            a.   Failing to adopt, implement, and maintain adequate security measures
 6
                   to safeguard Class Members’ PII;
 7

 8            b.   Failing to adequately monitor the security of their networks and

 9                 systems;
10
              c.   Failure to periodically ensure that their email system had plans in
11

12                 place to maintain reasonable data security safeguards;

13            d.   Failing to audit, monitor, or ensure the integrity of their vendor’s data
14
                   security practices;
15

16            e.   Allowing unauthorized access to Class Members’ PII;
17            f.   Failing to detect in a timely manner that Class Members’ PII had been
18
                   compromised;
19

20            g.   Failing to remove former customers’ PII it was no longer required to
21                 retain pursuant to regulations,
22
              h.   Failing to timely and adequately notify Class Members about the Data
23

24                 Breach’s occurrence and scope, so that they could take appropriate
25                 steps to mitigate the potential for identity theft and other damages;
26
                   and
27

28
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 1             i.   Failing to secure their stand-alone personal computers, such as the
 2
                    reception desk computers, even after discovery of the data breach.
 3

 4         176. Defendants violated Section 5 of the FTC Act and Wescom violated

 5 GLBA by failing to use reasonable measures to protect PII and not complying with

 6
     applicable industry standards, as described in detail herein. Defendants’ conduct was
 7

 8 particularly unreasonable given the nature and amount of PII they obtained and

 9 stored and the foreseeable consequences of the immense damages that would result

10
     to Plaintiff and the Class.
11

12         177. Plaintiff and Class Members were within the class of persons the

13 Federal Trade Commission Act and GLBA were intended to protect and the type of

14
     harm that resulted from the Data Breach was the type of harm these statues were
15

16 intended to guard against.

17         178. Defendants’ violation of Section 5 of the FTC Act and Wescom’s
18
     violation of GLBA constitutes negligence.
19

20         179. The FTC has pursued enforcement actions against businesses, which,
21 as a result of their failure to employ reasonable data security measures and avoid

22
     unfair and deceptive practices, caused the same harm as that suffered by Plaintiff
23

24 and the Class.

25         180. A breach of security, unauthorized access, and resulting injury to
26
     Plaintiff and the Class was reasonably foreseeable, particularly in light of
27

28
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 1 Defendants’ inadequate security practices.

 2
           181. It was foreseeable that Defendants’ failure to use reasonable measures
 3

 4 to protect Class Members’ PII would result in injury to Class Members. Further, the

 5 breach of security was reasonably foreseeable given the known high frequency of

 6
     cyberattacks and data breaches in the financial services and data management
 7

 8 industries.

 9         182. Defendants have full knowledge of the sensitivity of the PII and the
10
     types of harm that Plaintiff and the Class could and would suffer if the PII were
11

12 wrongfully disclosed.

13         183. Plaintiff and the Class were the foreseeable and probable victims of any
14
     inadequate security practices and procedures. Defendants knew or should have
15

16 known of the inherent risks in collecting and storing the PII of Plaintiff and the Class,

17 the critical importance of providing adequate security of that PII, and the necessity

18
     for encrypting PII stored on Defendants’ systems.
19

20         184. It was therefore foreseeable that the failure to adequately safeguard
21 Class Members’ PII would result in one or more types of injuries to Class Members.

22
           185. Plaintiff and the Class had no ability to protect their PII that was in, and
23

24 possibly remains in, Defendants’ possession.

25         186. Defendants were in a position to protect against the harm suffered by
26
     Plaintiff and the Class as a result of the Data Breach.
27

28
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 1         187. Defendants’ duties extended to protecting Plaintiff and the Class from
 2
     the risk of foreseeable criminal conduct of third parties, which has been recognized
 3

 4 in situations where the actor’s own conduct or misconduct exposes another to the

 5 risk or defeats protections put in place to guard against the risk, or where the parties

 6
     are in a special relationship. See Restatement (Second) of Torts § 302B. Numerous
 7

 8 courts and legislatures have also recognized the existence of a specific duty to

 9 reasonably safeguard personal information.

10
           188. Wescom has admitted that the PII of Plaintiff and the Class was
11

12 wrongfully lost and disclosed to unauthorized third persons as a result of the Data

13 Breach.

14
           189. But for Defendants’ wrongful and negligent breach of duties owed to
15

16 Plaintiff and the Class, the PII of Plaintiff and the Class would not have been

17 compromised.

18
           190. There is a close causal connection between Defendants’ failure to
19

20 implement security measures to protect the PII of Plaintiff and the Class and the

21 harm, or risk of imminent harm, suffered by Plaintiff and the Class. The PII of

22
     Plaintiff and the Class was lost and accessed as the proximate result of Defendants’
23

24 failure to exercise reasonable care in safeguarding such PII by adopting,

25 implementing, and maintaining appropriate security measures.

26
           191. As a direct and proximate result of Defendants’ negligence, Plaintiff
27

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 1 and the Class have suffered and will suffer injury, including but not limited to: (i)

 2
     invasion of privacy; (ii) theft of their PII; (iii) lost or diminished value of PII; (iv)
 3

 4 lost time and opportunity costs associated with attempting to mitigate the actual

 5 consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

 6
     opportunity costs associated with attempting to mitigate the actual consequences of
 7

 8 the Data Breach; (vii) experiencing an increase in spam calls, texts, and/or emails;

 9 (viii) Plaintiff experiencing fraudulent charges, for approximately $11, placed on her

10
     Wescom Central Credit Union debit card, in or about November 2023; (ix) statutory
11

12 damages; (x) nominal damages; and (xi) the continued and certainly increased risk

13 to their PII, which: (a) remains unencrypted and available for unauthorized third

14
     parties to access and abuse; and (b) remains backed up in Defendants’ possession
15

16 and is subject to further unauthorized disclosures so long as Defendants fail to

17 undertake appropriate and adequate measures to protect the PII.

18
           192. As a direct and proximate result of Defendants’ negligence, Plaintiff
19

20 and the Class have suffered and will continue to suffer other forms of injury and/or

21 harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and

22
     other economic and non-economic losses.
23

24         193. Additionally, as a direct and proximate result of Defendants’
25 negligence, Plaintiff and the Class have suffered and will suffer the continued risks

26
     of exposure of their PII, which remain in Defendants’ possession and is subject to
27

28
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 1 further unauthorized disclosures so long as Defendants fail to undertake appropriate

 2
     and adequate measures to protect the PII in their continued possession.
 3

 4         194. Plaintiff and Class Members are entitled to compensatory and

 5 consequential damages suffered as a result of the Data Breach.

 6
           195. Defendants’ negligent conduct is ongoing, in that it still holds the PII
 7

 8 of Plaintiff and Class Members in an unsafe and insecure manner.

 9         196. Plaintiff and Class Members are also entitled to injunctive relief
10
     requiring Defendants to (i) strengthen their data security systems and monitoring
11

12 procedures; (ii) submit to future annual audits of those systems and monitoring

13 procedures; and (iii) continue to provide adequate credit monitoring to all Class

14
     Members.
15

16                                     COUNT II
                               Breach Of Implied Contract
17                         (On Behalf of Plaintiff and the Class)
18
           197. Plaintiff restates and realleges the factual allegations in paragraphs 1
19

20 through 159, as if fully set forth herein, and brings this count against Defendant

21 Wescom (“Defendant” for the purposes of this count).

22
           198. Plaintiff and Class Members were required to provide their PII to
23

24 Defendant as a condition of obtaining financial services at Defendant.

25         199. Plaintiff and the Class entrusted their PII to Defendant. In so doing,
26
     Plaintiff and the Class entered into implied contracts with Defendant by which
27

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 1 Defendant agreed to safeguard and protect such information, to keep such

 2
     information secure and confidential, and to timely and accurately notify Plaintiff and
 3

 4 the Class if their data had been breached and compromised or stolen.

 5         200. In entering into such implied contracts, Plaintiff and Class Members
 6
     reasonably believed and expected that Defendant’s data security practices complied
 7

 8 with relevant laws and regulations and were consistent with industry standards.

 9         201. Implicit in the agreement between Plaintiff and Class Members and the
10
     Defendant to provide PII, was the latter’s obligation to: (a) use such PII for business
11

12 purposes only, (b) take reasonable steps to safeguard that PII, (c) prevent

13 unauthorized disclosures of the PII, (d) provide Plaintiff and Class Members with

14
     prompt and sufficient notice of any and all unauthorized access and/or theft of their
15

16 PII, (e) reasonably safeguard and protect the PII of Plaintiff and Class Members from

17 unauthorized disclosure or uses, (f) retain the PII only under conditions that kept

18
     such information secure and confidential.
19

20         202. The mutual understanding and intent of Plaintiff and Class Members on
21 the one hand, and Defendant, on the other, is demonstrated by their conduct and

22
     course of dealing.
23

24         203. Defendant solicited, offered, and invited Plaintiff and Class Members
25 to provide their PII as part of Defendant’s regular business practices. Plaintiff and

26
     Class Members accepted Defendant’s offers and provided their PII to Defendant.
27

28
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 1         204. In accepting the PII of Plaintiff and Class Members, Defendant
 2
     understood and agreed that it was required to reasonably safeguard the PII from
 3

 4 unauthorized access or disclosure.

 5         205. On information and belief, at all relevant times Defendant promulgated,
 6
     adopted, and implemented written privacy policies whereby it expressly promised
 7

 8 Plaintiff and Class Members that it would only disclose PII under certain

 9 circumstances, none of which relate to the Data Breach.

10
           206. On information and belief, Defendant further promised to comply with
11

12 industry standards and to make sure that Plaintiff's and Class Members’ PII would

13 remain protected.

14
           207. Plaintiff and Class Members paid money to Defendant with the
15

16 reasonable belief and expectation that Defendant would use part of its earnings to

17 obtain adequate data security. Defendant failed to do so.

18
           208. Plaintiff and Class Members would not have entrusted their PII to
19

20 Defendant in the absence of the implied contract between them and Defendant to

21 keep their information reasonably secure.

22
           209. Plaintiff and Class Members would not have entrusted their PII to
23

24 Defendant in the absence of their implied promise to monitor their computer systems

25 and networks to ensure that it adopted reasonable data security measures.

26
           210. Plaintiff and Class Members fully and adequately performed their
27

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 1 obligations under the implied contracts with Defendant.

 2
           211. Defendant breached the implied contracts it made with Plaintiff and the
 3

 4 Class by failing to safeguard and protect their personal information, by failing to

 5 delete the information of Plaintiff and the Class once the relationship ended, and by

 6
     failing to provide accurate notice to them that personal information was
 7

 8 compromised as a result of the Data Breach.

 9         212. As a direct and proximate result of Defendant’s breach of the implied
10
     contracts, Plaintiff and Class Members sustained damages, as alleged herein,
11

12 including the loss of the benefit of the bargain.

13         213. Plaintiff and Class Members are entitled to compensatory,
14
     consequential, and nominal damages suffered as a result of the Data Breach.
15

16         214. Plaintiff and Class Members are also entitled to injunctive relief
17 requiring Defendant to, e.g., (i) strengthen its data security systems and monitoring

18
     procedures; (ii) submit to future annual audits of those systems and monitoring
19

20 procedures; and (iii) immediately provide adequate credit monitoring to all Class

21 Members.

22
                                        COUNT III
23                          Unjust Enrichment / Quasi Contract
24                          (On Behalf of Plaintiff and the Class)
25         215. Plaintiff restates and realleges the factual allegations in paragraphs 1
26
     through 159, as if fully set forth herein.
27

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 1         216. Plaintiff and Class Members conferred a monetary benefit on
 2
     Defendants. Specifically, they paid for financial services from Wescom and/or its
 3

 4 agents and in so doing also provided Defendants with their PII. In exchange, Plaintiff

 5 and Class Members should have received from Wescom the services that were the

 6
     subject of the transaction and should have had their PII protected with adequate data
 7

 8 security.

 9         217. Defendants knew that Plaintiff and Class Members conferred a benefit
10
     upon them and have accepted and retained that benefit by accepting and retaining
11

12 the PII entrusted to them. Defendants profited from Plaintiff’s retained data and used

13 Plaintiff’s and Class Members’ PII for business purposes.

14
           218. Defendants failed to secure Plaintiff’s and Class Members’ PII and,
15

16 therefore, did not fully compensate Plaintiff or Class Members for the value that

17 their PII provided.

18
           219. Defendants acquired the PII through inequitable record retention as it
19

20 failed to disclose the inadequate data security practices previously alleged.

21         220. If Plaintiff and Class Members had known that Defendants would not
22
     use adequate data security practices, procedures, and protocols to adequately
23

24 monitor, supervise, and secure their PII, they would have entrusted their PII at

25 Defendants or obtained financial services at Wescom.

26
           221. Plaintiff and Class Members have no adequate remedy at law.
27

28
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 1         222. Under the circumstances, it would be unjust for Defendants to be
 2
     permitted to retain any of the benefits that Plaintiff and Class Members conferred
 3

 4 upon it.

 5         223. As a direct and proximate result of Defendants’ conduct, Plaintiff and
 6
     Class Members have suffered and will suffer injury, including but not limited to: (i)
 7

 8 invasion of privacy; (ii) theft of their PII; (iii) lost or diminished value of PII; (iv)

 9 lost time and opportunity costs associated with attempting to mitigate the actual

10
     consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost
11

12 opportunity costs associated with attempting to mitigate the actual consequences of

13 the Data Breach; (vii) experiencing an increase in spam calls, texts, and/or emails;

14
     (viii) Plaintiff experiencing fraudulent charges, for approximately $11, placed on her
15

16 Wescom Central Credit Union debit card, in or about November 2023; (ix) statutory

17 damages; (x) nominal damages; and (xi) the continued and certainly increased risk

18
     to their PII, which: (a) remains unencrypted and available for unauthorized third
19

20 parties to access and abuse; and (b) remains backed up in Defendants’ possession

21 and is subject to further unauthorized disclosures so long as Defendants fail to

22
     undertake appropriate and adequate measures to protect the PII.
23

24         224. Plaintiff and Class Members are entitled to full refunds, restitution,
25 and/or damages from Defendants and/or an order proportionally disgorging all

26
     profits, benefits, and other compensation obtained by Defendants from their
27

28
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 1 wrongful conduct. This can be accomplished by establishing a constructive trust

 2
     from which the Plaintiff and Class Members may seek restitution or compensation.
 3

 4         225. Plaintiff and Class Members may not have an adequate remedy at law

 5 against Defendants, and accordingly, they plead this claim for unjust enrichment in

 6
     addition to, or in the alternative to, other claims pleaded herein.
 7

 8                                     COUNT IV
               Violation of California’s Unfair Competition Law (“UCL”)
 9                             Unlawful Business Practice
10                       (Cal Bus. & Prof. Code § 17200, et seq.)
                   (On Behalf of Plaintiff and the California Subclass)
11

12         226. Plaintiff restates and realleges the factual allegations in paragraphs 1

13 through 159, as if fully set forth herein, and brings this claim individually and on

14
     behalf of the California Subclass (the "Class" for the purposes of this count).
15

16         227. Defendants are “persons” defined by Cal. Bus. & Prof. Code § 17201.
17         228. Defendants violated Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”)
18
     by engaging in unlawful, unfair, and deceptive business acts and practices.
19

20         229. Defendants’ “unfair” acts and practices include:
21             a. Defendants failed to implement and maintain reasonable security
22
                  measures to protect Plaintiff’s and Class Members’ personal
23

24                information from unauthorized disclosure, release, data breaches, and
25                theft, which was a direct and proximate cause of the Data Breach.
26
                  Defendants failed to identify foreseeable security risks, remediate
27

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 1            identified security risks, and adequately improve security following
 2
              previous cybersecurity incidents and known coding vulnerabilities in
 3

 4            the industries;

 5         b. Defendants’ failure to implement and maintain reasonable security
 6
              measures also was contrary to legislatively-declared public policy that
 7

 8            seeks to protect consumers’ data and ensure that entities that are trusted

 9            with it use appropriate security measures. These policies are reflected
10
              in laws, including the FTC Act (15 U.S.C. § 45), California’s Customer
11

12            Records Act (Cal. Civ. Code § 1798.80 et seq.), and California’s

13            Consumer Privacy Act (Cal. Civ. Code § 1798.150);
14
           c. Defendants’ failure to implement and maintain reasonable security
15

16            measures also led to substantial consumer injuries, as described above,
17            that are not outweighed by any countervailing benefits to consumers or
18
              competition. Moreover, because consumers could not know of
19

20            Defendants’ inadequate security, consumers could not have reasonably
21            avoided the harms that Defendants caused;
22
           d. Failing to audit, monitor, or ensure the integrity of their vendor’s data
23

24            security practices; and,
25         e. Engaging in unlawful business practices by violating Cal. Civ. Code §
26
              1798.82.
27

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 1        230. Defendants have engaged in “unlawful” business practices by violating
 2
     multiple laws, including the FTC Act, 15 U.S.C. § 45, GLBA, and California
 3

 4 common law.

 5        231. Defendants’ unlawful, unfair, and deceptive acts and practices include:
 6
             a. Failing to implement and maintain reasonable security and privacy
 7

 8              measures to protect Plaintiff’s and Class Members’ personal

 9              information, which was a direct and proximate cause of the Data
10
                Breach;
11

12           b. Failing to identify foreseeable security and privacy risks, remediate

13              identified security and privacy risks, which was a direct and proximate
14
                cause of the Data Breach;
15

16           c. Failing to comply with common law and statutory duties pertaining to
17              the security and privacy of Plaintiff’s and Class Members’ personal
18
                information, including duties imposed by the FTC Act, 15 U.S.C. § 45,
19

20              which was a direct and proximate cause of the Data Breach;
21           d. Misrepresenting that it would protect the privacy and confidentiality of
22
                Plaintiff’s and Class Members’ personal information, including by
23

24              implementing and maintaining reasonable security measures;
25           e. Omitting, suppressing, and concealing the material fact that it did not
26
                reasonably or adequately secure Plaintiff’s and Class Members’
27

28
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 1                personal information; and
 2
              f. Omitting, suppressing, and concealing the material fact that it did not
 3

 4                comply with common law and statutory duties pertaining to the security

 5                and privacy of Plaintiff’s and Class Members’ personal information,
 6
                  including duties imposed by the FTC Act, 15 U.S.C. § 45.
 7

 8         232. Defendants’ representations and omissions were material because they

 9 were likely to deceive reasonable consumers about the adequacy of Defendants’ data

10
     security systems and abilities to protect the confidentiality of consumers' personal
11

12 information.

13         233. As a direct and proximate result of Defendants’ unfair and unlawful
14
     acts and practices, Plaintiff and Class Members were injured and lost money or
15

16 property, which would not have occurred but for the unfair and deceptive acts,

17 practices, and omissions alleged herein, time and expenses related to monitoring

18
     their financial accounts for fraudulent activity, an increased, imminent risk of fraud
19

20 and identity theft, and loss of value of their personal information

21         234. Defendants’ violations were, and are, willful, deceptive, unfair, and
22
     unconscionable.
23

24         235. Plaintiff and Class Members have lost money and property as a result
25 of Defendants’ conduct in violation of the UCL, as stated herein and above.

26
           236. By deceptively storing, collecting, and disclosing their personal
27

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 1 information, Defendants have taken money or property from Plaintiff and Class

 2
     Members.
 3

 4         237. Defendants acted intentionally, knowingly, and maliciously to violate

 5 California’s Unfair Competition Law, and recklessly disregarded Plaintiff’s and

 6
     Class Members’ rights.
 7

 8         238. Plaintiff and Class Members seek all monetary and nonmonetary relief

 9 allowed by law, including restitution of all profits stemming from Defendants’

10
     unfair, unlawful, and fraudulent business practices or use of their personal
11

12 information; declaratory relief; reasonable attorneys’ fees and costs under California

13 Code of Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable

14
     relief, including public injunctive relief.
15

16                               PRAYER FOR RELIEF
17         WHEREFORE, Plaintiff prays for judgment as follows:
18
               A.   For an Order certifying this action as a class action and appointing
19

20                  Plaintiff and her counsel to represent the Class and California
21                  Subclass;
22
               B.   For equitable relief enjoining Defendants from engaging in the
23

24                  wrongful conduct complained of herein pertaining to the misuse
25                  and/or disclosure of Plaintiff's and Class Members’ PII, and from
26

27

28
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 1                refusing to issue prompt, complete and accurate disclosures to
 2
                  Plaintiff and Class Members;
 3

 4         C.     For equitable relief compelling Defendants to utilize appropriate

 5                methods and policies with respect to consumer data collection,
 6
                  storage, and safety, and to disclose with specificity the type of PII
 7

 8                compromised during the Data Breach;

 9         D.      For injunctive relief requested by Plaintiff, including but not limited
10
                  to, injunctive and other equitable relief as is necessary to protect the
11

12                interests of Plaintiff and Class Members, including but not limited to

13                an order:
14
                  i.     Prohibiting Defendants from engaging in the wrongful and
15

16                       unlawful acts described herein;
17               ii.     Requiring Defendants to protect, including through encryption,
18
                         all data collected through the course of their businesses in
19

20                       accordance with all applicable regulations, industry standards,
21                       and federal, state, or local laws;
22
                iii.     Requiring Defendants to delete, destroy, and purge the PII of
23

24                       Plaintiff and Class Members unless Defendants can provide to
25                       the Court reasonable justification for the retention and use of
26

27

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 1                   such information when weighed against the privacy interests of
 2
                     Plaintiff and Class Members;
 3

 4            iv.    Requiring Defendants to implement and maintain                  a

 5                   comprehensive Information Security Program designed to
 6
                     protect the confidentiality and integrity of the PII of Plaintiff
 7

 8                   and Class Members;

 9             v.    Prohibiting Defendants from maintaining the PII of Plaintiff
10
                     and Class Members on a cloud-based database;
11

12            vi.    Requiring Defendants to engage independent third-party

13                   security auditors/penetration testers as well as internal security
14
                     personnel to conduct testing, including simulated attacks,
15

16                   penetration tests, and audits on Defendants’ systems on a
17                   periodic basis, and ordering Defendants to promptly correct
18
                     any problems or issues detected by such third-party security
19

20                   auditors;
21            vii.   Requiring Defendants to engage independent third-party
22
                     security auditors and internal personnel to run automated
23

24                   security monitoring;
25           viii.   Requiring Defendants to audit, test, and train their security
26
                     personnel regarding any new or modified procedures;
27

28
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 1            ix.    Requiring Defendants to segment data by, among other things,
 2
                     creating firewalls and access controls so that if one area of
 3

 4                   Defendants’ network is compromised, hackers cannot gain

 5                   access to other portions of Defendants’ systems;
 6
               x.    Requiring Defendants to conduct regular database scanning
 7

 8                   and securing checks;

 9            xi.    Requiring Defendants to establish an information security
10
                     training program that includes at least annual information
11

12                   security training for all customers, with additional training to

13                   be provided as appropriate based upon the customers’
14
                     respective responsibilities with handling personal identifying
15

16                   information, as well as protecting the personal identifying
17                   information of Plaintiff and Class Members;
18
              xii.   Requiring Defendants to routinely and continually conduct
19

20                   internal training and education, and on an annual basis to
21                   inform internal security personnel how to identify and contain
22
                     a breach when it occurs and what to do in response to a breach;
23

24           xiii.   Requiring Defendants to implement a system of tests to assess
25                   their respective customers’ knowledge of the education
26
                     programs discussed in the preceding subparagraphs, as well as
27

28
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 1                   randomly and periodically testing customers’ compliance with
 2
                     Defendants’ policies, programs, and systems for protecting
 3

 4                   personal identifying information;

 5           xiv.    Requiring Defendants to implement, maintain, regularly
 6
                     review, and revise as necessary a threat management program
 7

 8                   designed to appropriately monitor Defendants’ information

 9                   networks for threats, both internal and external, and assess
10
                     whether monitoring tools are appropriately configured, tested,
11

12                   and updated;

13            xv.    Requiring Defendants to meaningfully educate all Class
14
                     Members about the threats that they face as a result of the loss
15

16                   of their confidential personal identifying information to third
17                   parties, as well as the steps affected individuals must take to
18
                     protect themselves; and
19

20           xvi.    Requiring Defendants to implement logging and monitoring
21                   programs sufficient to track traffic to and from Defendants’
22
                     servers; and
23

24           xvii.   for a period of 10 years, appointing a qualified and independent
25                   third party assessor to conduct a SOC 2 Type 2 attestation on
26
                     an annual basis to evaluate Defendants’ compliance with the
27

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 1                      terms of the Court’s final judgment, to provide such report to
 2
                        the Court and to counsel for the Class, and to report any
 3

 4                      deficiencies with compliance of the Court’s final judgment.

 5           E.   For equitable relief requiring restitution and disgorgement of the
 6
                  revenues wrongfully retained as a result of Defendants’ wrongful
 7

 8                conduct;

 9           F.   Ordering Defendants to pay for not less than ten years of credit
10
                  monitoring services for Plaintiff and the Class;
11

12           G.   For an award of actual damages, compensatory damages, statutory

13                damages, and statutory penalties, in an amount to be determined, as
14
                  allowable by law;
15

16           H.   For an award of attorneys’ fees and costs, and any other expense,
17                including expert witness fees;
18
             I.   Pre- and post-judgment interest on any amounts awarded; and
19

20           J.   Such other and further relief as this court may deem just and proper.
21                           JURY TRIAL DEMANDED
22
          Plaintiff Priscilla Wall, individually and on behalf of the putative
23

24 Classes, demands a trial by jury on all claims so triable.

25

26 DATED: November 7, 2023                Respectfully submitted,
27
                                          s/ John J. Nelson
28
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 7                                   the Proposed Class
 8

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